8:13-cr-00314-LSC-SMB          Doc # 115      Filed: 04/04/14    Page 1 of 1 - Page ID # 196




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  8:13CR314
                                               )
         vs.                                   )                   ORDER
                                               )
ANTHONY WEINRICH,                              )
                                               )
                      Defendant.               )

         This matter is before the court on the motion of defendant Anthony Weinrich
(Weinrich) to extend time to file pretrial motions (Filing No. 113). Weinrich does not set forth
any critical pretrial motions which would require the court’s attention. The pretrial motion
deadline has been extended several times for Weinrich, principally to provide him additional
time to enable him to reach a plea agreement with the government. Accordingly, the motion
to extend time to file pretrial motions (Filing No. 113) is denied. The matter will be scheduled
for trial.


         IT IS SO ORDERED.


         DATED this 4th day of April, 2014.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
